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IN THE UNITED STATES DISTRICT COURI‘FREDEL'AEZ:;EUI
FOR THE WESTERN DISTRICT OF TENNESSE

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UNITED STATES OF AMERICA,
Plaintiff,

cv. No. 04-2642-M1/P ~/
Cr. No. 01~20024-Ml

vs.
MICHAEL NEWBORN,

Defendant.

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ORDER CORRECTING THE DOCKET
ORDER DENYING MOTION PURSUANT TO 28 U.S.C. § 2255
ORDER DENYING CERTIFICATE OF APPEALABILITY
AND
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH

 

Defendant Michael Newborn, Bureau of Prisons inmate
registration number 17610-076, an inmate at the Federal Correctional
Institution in Forrest City, Arkansas,l filed a pro §§ motion pursuant
to 28 U.S.C. § 2255 on August 18, 2004, accompanied lar a legal
memorandum.

On February 13, 2001, a federal grand jury returned a five~
count indictment against Newborn. The first count charged that
Newborn, beginning sometime on or about 1992 and continuing up to and
including January 17, 2001, conspired with Jerry Collier and Leroy
Mallory and With other persons to possess Dilaudid (hydromorphone)

with the intent to distribute and to distribute Dilaudid

 

1 In order to facilitate the delivery of the Defendant's mail, the Clerk
is ORDERED to correct the docket to include the Defendant's inmate registration
number in his mailing address.

This document entered on the docket sheet In codmp!lance
with Hu!e 58 and/or 79(a) FRCP on “ '

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(hydromorphone), in violation of 21 U.S.C. § 846. The second count
charged that, on or about September 27, 2000, Newborn, aided and
abetted by Leroy Mallory, possessed approximately five hundred (500)
dosage units of Dilaudid (hydromorphone) with the intent to
distribute, in violation of 21 U.S.C. § 841(a)(l) and 18 U.S.C. § 2.
The third count charged that, on or about November 21, 2000, Newborn
possessed approximately two hundred (200) dosage units of Dilaudid
(hydromorphone) with the intent to distribute, in violation of 21
U.S.C. § 841(a)(l). The fourth count charged that, on or about
December 7, 2000, Newborn possessed approximately two hundred (200)
dosage units of Dilaudid (hydromorphone) with the intent to
distribute, in violation of 21 U.S.C. § 84l(a)(l). The fifth count
charged that, on or about January 17, 2001, Newborn possessed
approximately five hundred (500) dosage units of Dilaudid
(hydromorphone) with the intent to distribute, in violation of 21
U.S.C. § 841(a)(1).

On May 2, 2001, pursuant tx) a written plea agreement,
Newborn appeared before this Court to plead guilty to counts two,
three, four, and five of the indictment. The Court conducted. a
sentencing hearing on August 2 and 3, 2001, at which time Newborn was
sentenced to concurrent terms of imprisonment of twenty (20) years on
counts 2, 3, and 4 and a consecutive term of six (6) years on count
5, for a total term of incarceration of twenty-six (26) years, to be

followed by a five-year period of supervised release.2 Judgment was

 

2 Based on the statement of Leroy Mallory, and giving Newborn the benefit

of the doubt, the drug quantity was calculated at 5000 pills per month from January
1998 through April 2000, plus the 1600 pills alleged in the indictment, resulting
in a total of 141,600 Dilaudid pills. Converting the Dilaudid to its marijuana

(continued...)

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entered on August 6, 2001. The United States Court of Appeals for the
Sixth Circuit affirmed Newborn's sentence. United States v. Newborn,

71 Fed. Appx. 557 (6th Cir. Aug. 8, 2003), cert. denied, 540 U.S. 1135

 

(2004).
Newborn has now filed a motion pursuant to 28 U.S.C. § 2255
in which he raised the following issues:

l. He received ineffective assistance of counsel, in
violation of the Sixth Amendment;

2. His sentence, which was based on a drug quantity that
was not charged in the indictment, was imposed in
violation of 18 U.S.C. § 3742(a)(l)-(3) and Blakely v.
Washington, 124 S. Ct. 2531 (2004); and

3. The four-point enhancement as an organizer or leader
violates Blakel .

The Court will address the second and third issues raised by Newborn
before turning to the first issue.

Newborn raised portions of his second argument, that the
drug quantity was calculated based on the uncorroborated testimony of
co-conspirators, at the sentencing hearing, where the Court heard tape
recordings of the transactions listed. in the indictment and the
testimony of Jerry Collier, a former Dilaudid dealer Who became a
confidential informant for the FBI, and Mallory. At the conclusion of
the sentencing hearing, the Court credited the testimony of Collier

and Mallory and adopted the presentence report's factual finding that

 

2 (...continued)

equivalent resulted in 31,860 kilograms of marijuana. Pursuant to § 2Dl.l(c)(1) of
the United States Sentencing Guidelines (“U.S.S.G”), the base offense level for
30,000 or more kilograms of marijuana is 38. Newborn received a four-point
enhancement, pursuant to U.S.S.G. § 3Bl.l(a), as the organizer or leader of a
criminal activity that involved five or more participants or was otherwise
extensive, resulting in an adjusted offense level of 42. Newborn received a three-
point reduction for acceptance of responsibility, pursuant to U.S.S.G. § 3El.1,
resulting in a total offense level of 39. Given Newborn's criminal history category
of I, the guidelines called for a sentencing range from 262 to 327 months.

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Newborn's relevant conduct involved more than 141,600 Dilaudid

tablets.

Newborn raised the issue on direct appeal, where the Sixth

Circuit affirmed the Court's determination of the drug quantity:

Defendant argues that the district court erred in

estimating the quantity of Dilaudid attributable to him
because the estimate was based on speculation and unreliable
testimony. Defendant argues that the testimony of Collier
and Mallory was unreliable since their testimony indicated
that they used drugs extensively during relevant time
periods and, as a result, did not remember the exact
quantities of Dilaudid they obtained from Defendant nor the
exact dates on which they obtained the quantities of
Dilaudid.

We hold that the district court did not err in

estimating the quantity of Dilaudid attributed to Defendant.
§§g United States v. Owusu, 199 F.3d 329 (6th Cir. 2000).
In Owusu, we held that the district court did not err in
estimating the quantity of crack cocaine attributable to the
defendant since the estimate was supported by competent
evidence on the record. ;QL at 338. Based solely on the
testimony of a co-conspirator, the district court in Owusu
estimated that 195 grams of crack cocaine was attributable
to the defendant. ;dy at 339. The co-conspirator testified
that the defendant sold two ounces of crack cocaine to a
crack house several times between 1988 and 1989. ;dy The
co-conspirator also testified that the defendant sold him
one ounce of crack cocaine “every week or so” for two to
three months in 1993. ld; On appeal, we stated that we will
defer to the district court's credibility determination
unless it has no foundation. ld;_ We reasoned that the
district court's determination that the co~conspirator’s
testimony was credible was not without foundation because
his testimony was consistent with other testimony on the
record and because he had no reason to single the defendant
out for the transactions. ida We therefore concluded that
the district court “properly erred on the side of caution”
and included two ounces of crack cocaine, 56.7 grams, in the
total attributed amount of 195 grams. ldy

Like the co-conspirator in Owusu, Collier and Malloy

estimated the dates of the transactions and the quantities
involved therein. For instance, Collier testified that he
and his brother each began purchasing approximately 400 to
600 Dilaudid tablets per week in 1991 or 1992 from
Defendant. This continued until 1994 or 1995 at which time
Collier and his brother each began purchasing approximately
5,000 Dilaudid tablets per month from Defendant. This
continued until June or July of 1999. Thereafter, Collier
purchased approximately 2,000 to 4,000 Dilaudid tablets per

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month from Defendant until his arrest in April of 2000.
After his arrest, Collier, as a confidential informant,
purchased approximately 1,400 Dilaudid tablets from
Defendant. The tape recordings corroborated Collier's
testimony regarding the 1,400 Dilaudid tablets he purchased
as a confidential informant.

Mallory testified that he began delivering
approximately 100 Dilaudid tablets at a time for Defendant
in 1997. This continued until the end of 1997 or the
beginning of 1998 at which time Mallory began making
deliveries for Defendant to the Colliers. Mallory delivered
approximately 5,000 Dilaudid tablets every four to six weeks
to Collier's brother until early 1999, and to Collier until
April of 2000. In addition to delivering to the Colliers,
Mallory delivered approximately 200 Dilaudid tablets per
week to various other buyers for Defendant from 1998 to
April of 2000. After Collier's arrest, Mallory delivered
approximately 700 Dilaudid tablets to Collier for Defendant.
In total, Mallory delivered approximately 150,000 Dilaudid
tablets for Defendant. The tape recordings corroborated
Mallory's testimony regarding 700 Dilaudid tablets he
delivered to Collier for Defendant in September of 2000.

We find that the district court’s determination that
the testimony of Collier and Malloy was credible is not
without foundation because their testimony was consistent
and partially corroborated by the tape recordings. gee idy;
United States v. Baro, 15 F.3d 563, 569 (6th Cir. 1994)
(stating that evidence of drug quantity “must have a minimal
level of reliability beyond mere allegation") (internal
quotations and citations omitted). Although Collier and
Mallory did.not remember the exact dates of the transactions
or the exact quantities involved, their testimony indicated
that Defendant likely sold. more than 141,600 Dilaudid
tablets over a lengthy period of time. gee United States v.
Walton, 908 F.2d 1289, 1302 (6th Cir. 1990) (holding that
a district court may hold a defendant accountable for an
estimated quantity of drugs where the defendant is more
likely than not responsible for a quantity greater than or
equal to that quantity). We therefore conclude that the
district court properly estimated that 141,600 Dilaudid
tablets were attributable to Defendant, which converts to
a marijuana equivalency of 31,860 kilograms, resulting in
a base offense level of 38. §g§ USSG § 2Dl.l{c)(l).

United States v. Newborn, 71 Fed. Appx. at 562-63.
“[A] § 2255 motion may not be employed to relitigate an
issue that was raised and considered on direct appeal absent highly

exceptional circumstances, such as an intervening change in the law.”

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Jones v. United States, 178 F.3d 790, 796 (6th Cir. 1999); §ge DuPont
v. United States, 76 F.3d 108, 110 (6th Cir. 1996). In this case,
Newborn presumably contends that the Supreme Court's decision in
Blakelv v. Washington, 124 S. Ct. 2531 (2004), constitutes an
extraordinary circumstance justifying reconsideration of this issue.
The Court, however, finds Defendant’s contention unpersuasive.

Newborn’s clainl that his sentence violates Blakely v.
Washington was not available to him during his direct appeal. In a
subsequent decision issued since this motion was filed, which Newborn
has not cited but which the Court will consider spa sponte, the
Supreme Court held that the mandatory aspects of the sentencing
guidelines are unconstitutional. United States v. Booker, 125 S. Ct.
758 (2005). “As a general rule, new constitutional decisions are not
applied retroactively to cases that were finalized prior to a new
Supreme Court decision.” Goode v. United States, 305 F.3d 378, 383
(6th Cir. 2002); see Schriro v. Summerlin, 124 S. Ct. 2519, 2522-26
(2004) (holding that decision in Bigg_yy_g;igggg, which held that a
sentencing judge in a capital case may not find an aggravating factor
necessary for imposition of the death penalty, and that the Sixth
Amendment requires that those circumstances be found by a jury, does
not apply retroactively to cases on collateral review); Teague v.
Lgpe, 489 U.S. 288 (1989). Applying these standards, the Sixth Circuit
has held that Blakely and Booker issues cannot be raised in an initial
motion pursuant to 28 U.S.C. § 2255. Humphress v. United States, 398
F.3d 855, 860-63 (6th Cir. 2005).

For all of the foregoing reasons, Newborn's second claim is

without merit and is DISMISSED.

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Newborn raised portions of his third argument, concerning
the appropriateness of the four-point enhancement for being an
organizer and leader, at his sentencing hearing. At the conclusion of
that hearing, the Court concluded, on the basis of the tape recordings
and the testimony of the witnesses, that Newborn was an organizer and
leader of criminal activity involving five or more participants.
Newborn also raised the issue on direct appeal, where the Sixth

Circuit affirmed his sentence:

The district court held that a four-point enhancement
under § 3Bl.1(a) was warranted because the tape recordings
and the testimony of Collier and Mallory supported the
government’s contention.that Defendant was the organizer and
leader of criminal activity involving five or more
participants. The district court reasoned that the evidence
demonstrated that (1) Defendant obtained large quantities
of Dilaudid from a New York supplier pursuant to a credit
arrangement; (2) Defendant sold.Dilaudid to the Colliers and
various other buyers; (3) Defendant supervised Mallory by
instructing him to deliver specific quantities of Dilaudid
to the Colliers and various other buyers; (4) Defendant
collected money owed for the Dilaudid; and (5) Defendant
paid money to the New York supplier.

Although Defendant does not dispute that the criminal
activity involved five or more participants, Defendant
argues that the four-point enhancement under § 3Bl.1(a) was
not warranted because the evidence indicated that he was not
the organizer or leader of the criminal activity.

In United States v. Vandeberg, 201 F.3d 805, 811 (6th
Cir. 2000), we stated that in determining whether a
defendant qualifies as an organizer or leader under § 3B1.l,
the district court should consider whether the defendant
exercised.decision-making authority, recruited.accomplices,
claimed a right to a larger share of the fruits of the
crime, took a leadership role in planning the details of the
offense, and exercised a significant degree of authority or
control over other criminal participants. In Vandeberg, two
co-defendants conspired to transport stolen property
interstate. Despite the government's acquiescence in the
defendant’s position that he was not the organizer or leader
of the conspiracy, the district court applied a two~point
enhancement to the defendant's base offense level under §
3B1.1(c), without articulating a factual basis. ldy, On
appeal, we held that the district court erred in applying

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the two-point enhancement because the defendant neither
exercised decision-making authority, recruited the
co-defendant, claimed a right to a larger share of the
fruits of the conspiracy, took a leadership role in planning
the details of the conspiracy, nor exercised any degree of
authority or control over the co-defendant. ;dL

Vandeberg is factually distinguishable from the facts
at bar. Unlike the defendant in Vandeberg, Defendant
exercised. decision-making authority' as to whon\ he sold
Dilaudid and as to the price for which he sold it; he
claimed a right to a larger share of the fruits of the crime
inasmuch as he took profits from the Dilaudid he purchased
from the New York supplier and later sold to the Colliers
and various other buyers; he took a leadership role in
planning the details of the offense by organizing and
scheduling the transactions; and he exercised a significant
degree of control over Mallory by paying him for delivering
Dilaudid to the Colliers and various other buyers.

We hold that Defendant was the organizer and leader of
the criminal activity. See United States v. Castro, 908 F.2d
85, 90 (6th Cir. 1990) (holding that the defendants
qualified as organizers and leaders under § 3Bl.1(a) because
testimony at trial indicated that the defendants instructed
co-conspirators to transport cocaine interstate, and that
the defendants employed others to travel in cars equipped
with. secret compartments to transport cocaine and cash
proceeds from the sale of cocaine interstate); United States
v. Feinman, 930 F.2d 495, 500 (6th Cir. 1991) (holding that
the defendant qualified as an organizer and leader under §
3Bl.1(a) because testimony' at trial indicated. that the
defendant recruited a co-conspirator to transport marijuana
between California and Ohio, and that the defendant made
arrangements with marijuana suppliers in California for the
distribution of marijuana in Akron, Ohio); United States v.
Hernandez, 227 F.3d 686, 700 (6th Cir. 2000) (holding that
the defendant qualified as an organizer and leader under §
3Bl.1(a) because the defendant instructed co-conspirators
to make payments, took profits from transactions, paid a
co-conspirator’s utilities, and.was involved in planning and
organizing the marijuana conspiracy). We therefore conclude
that the district court did not err in holding that the
four-point enhancement under § 3Bl.1(a) was warranted.

United States v. Newborn, 71 Fed. Appx. at 560-62.

 

As previously stated, Newborn cannot relitigate this issue,
which was already decided on direct appeal, in the absence of

extraordinary circumstances, and the Supreme Court’s decisions in

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Blakely; and. Booker do not constitute extraordinary circumstances
because those decisions are not available to defendants filing initial
§ 2255 motions. Accordingly, this issue is without merit and is

DISMISSED.

Finally, Newborn argues that his attorney rendered
ineffective assistance, in violation of the Sixth. Amendment, by
failing to challenge the drug quantity determination contained in the
presentence report. A claim that ineffective assistance of counsel has
deprived a defendant of his Sixth Amendment right to counsel is
controlled by the standards enunciated in Strickland v. Washinqton,
466 U.S. 668, 687 (1984):

A.convicted.defendant's clain\that counsel's assistance
was so defective as to require reversal of a conviction or
death sentence has two components. First, the defendant must
show that counsel's performance'was deficient. This requires
showing that counsel made errors so serious that counsel was
not functioning as the “counsel” guaranteed the defendant
by the Sixth Amendment. Second, the Defendant must show that
the deficient performance prejudiced the defense. This
requires showing that counsel's errors were so serious as
to deprive the defendant of a fair trial, a trial whose
result is reliable. Unless a defendant makes both showings,
it cannot be said that the conviction or death sentence
resulted from a breakdown in the adversary process that
renders the result unreliable.

In order to demonstrate deficient performance by counsel,
a defendant must demonstrate that “counsel’s representation fell below
an objective standard of reasonableness.” Id. at 688.

Judicial scrutiny of counsel's performance must be
highly deferential. It is all too tempting for a defendant
to second-guess counsel's assistance after conviction or
adverse sentence, and jj: is all too easy for aa court,
examining counsel's defense after it has proved
unsuccessful, to conclude that a particular act or omission
of counsel was unreasonable. . . . A fair assessment of
attorney performance requires that every effort be made to
eliminate the distorting effects of hindsight, to
reconstruct the circumstances of counsel's challenged

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conduct, and to evaluate the conduct from counsel's
perspective at the time. Because of the difficulties
inherent in making the evaluation, a court must indulge a
strong presumption that counsel's conduct falls within the
wide range of reasonable professional assistance; that is,
the defendant must overcome the presumption that, under the
circumstances, the challenged action “might be considered
sound trial strategy.”

;dy at 689 (citation omitted); see also Coe v. Bell, 161 F.3d 320, 342
(6th Cir. 1999) (“The specifics of what Coe claims an effective lawyer
would have done for him are too voluminous to detail here. They also
largely miss the point: just as (or more) important as what the lawyer
missed is what he did not miss. That is, we focus on the adequacy or

inadequacy of counsel's actual performance, not counsel's (hindsight)

potential for improvement.”); Adams v. Jago, 703 F.2d 978, 981 (6th
Cir. 1983) (“a defendant ‘has not been denied effective assistance by

erroneous tactical decisions if, at the time, the decisions would have
seemed reasonable to the competent trial attorney'”).

A prisoner attacking his conviction bears the burden of
establishing that he suffered some prejudice from his attorney’s
ineffectiveness. Lewis v. Alexander, 11 F.3d 1349, 1352 (6th Cir.
1993); Isabel v. United States, 980 F.2d 60, 64 (1st Cir. 1992). “[A]
court need not determine whether counsel's performance was deficient
before examining the#prejudice suffered.by the defendant." Strickland,
466 U.S. at 697. If a reviewing court finds a lack of prejudice, it
need not determine whether, in fact, counsel's performance was
deficient. ld; at 697.

To demonstrate prejudice, a. prisoner' must establish “a
reasonable probability that, but for counsel's unprofessional errors,

the result of the proceeding would have been different.” Id. at 694.

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“A reasonable probability is a probability sufficient to undermine
confidence in the outcome." Id. Additionally, however, in analyzing
prejudice,

the right to the effective assistance of counsel is
recognized not for its own sake, but because of the effect
it has on the ability of the accused to receive a fair
trial. Absent some effect of the challenged conduct on the
reliability of the trial process, the Sixth Amendment
guarantee is generally not implicated.

Lockhart v. Fretwell, 506 U.S. 364, 368 (1993) (citing United States

 

v. Cronic, 466 U.S. 648, 658 (1984)); See also Strickland, 466 U.S.
at 686 (“The benchmark for judging any claim of ineffectiveness must
be whether counsel's conduct so undermined the proper functioning of
the adversarial process that the trial cannot be relied on as having
produced a just result.”). “Thus analysis focusing solely on mere
outcome determination, without attention to whether the result of the
proceeding was fundamentally unfair or unreliable, is defective.”
Lockhart, 506 U.S. at 369. Where, as here, a defendant contends that
he received ineffective assistance of counsel in connection with his
sentencing, the Supreme Court has held that any increase in a
defendant's sentence constitutes prejudice within the meaning of
Strickland. Glover v. United States, 531 U.S. at 202-04.

Newborn's ineffective assistance claim is without merit for
several reasons. First, Newborn cannot credibly claim to be surprised
by the fact that the relevant conduct, for sentencing purposes, was
not limited to the 1400 Dilaudid tablets that are the subjects of
counts 2-5 of the indictment. Paragraph ZL of the Plea. Agreement

provides, in pertinent part, that “[t]he defendant understands that

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the dismissal of count l will not effect the relevant conduct used in
calculating the sentencing guidelines.”

Second, Newborn cannot establish that the performance of his
attorney was deficient. Trial counsel objected to the drug quantity
determination contained in the presentence report and. as a result of
that objection, the Court heard the testimony of witnesses at the
sentencing hearing. Newborn does not indicate what his attorney should
have said or done at the sentencing hearing to challenge the drug
quantity calculation contained in the presentence report, and he does
not attempt to demonstrate that, if onlyl counsel had inade those
arguments, there is a reasonable probability that he would have
received a lighter sentence. Finally, the fact that the Sixth Circuit
upheld the drug quantity determination as supported by the evidence
in the record, despite the objections of trial and appellate counsel,
suggests that Newborn cannot satisfy his burden of demonstrating
prejudice. For all the foregoing reasons, this issue is without merit
and it is DISMISSED.

The motion, together with the files and record in this case
“conclusively show that the prisoner is entitled to no relief.” 28
U.S.C. § 2255; see also Rule 4(b), Rules Governing Section 2255
Motions in the United States District Courts. Therefore, the Court
finds that a response is not required from the United States Attorney
and that the motion may be resolved without an evidentiary hearing.
United States v. Johnson, 327 U.S. 106, 111 (1946); Baker v. United
States, 781 F.2d 85, 92 (6th Cir. 1986). Defendant's conviction and

sentence are valid and therefore, his motion is DENIED.

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Consideration must also be given to issues that may occur
if the Defendant files a notice of appeal. Twenty-eight U.S.C. §
2253(a) requires the district court to evaluate the appealability of
its decision denying a § 2255 motion and to issue a certificate of
appealability (“COA”) only if “the applicant has made a substantial
showing of the denial of a constitutional right.” 28 U.S.C. §
2253(€)(2); see also Fed. R. App. P. 22(b); Lvons v. Ohio Adult Parole
Auth., 105 F.3d 1063, 1073 (6th Cir. 1997) (district judges may issue
certificates of appealability under the AEDPA). No § 2255 movant may
appeal without this certificate.

In Slack v. McDaniel, 529 U.S. 473, 483-84 (2000), the
Supreme Court stated that § 2253 is a codification of the standard
announced in Barefoot v. Estelle, 463 U.S. 880, 893 (1983), which
requires a showing that “reasonable jurists could debate whether (or,
for that matter, agree that) the petition should have been resolved
in a different manner or that the issues presented were “‘adequate to
deserve encouragement to proceed further.'” Slack, 529 U.S. at 484
(quoting Barefoot, 463 U.S. at 893 & n.4).

The Supreme Court recently cautioned against undue
limitations on the issuance of certificates of appealability:

[O]ur opinion in Slack held that a COA does not require a
showing that the appeal will succeed. Accordingly, a court
of appeals should not decline the application of a COA
merely because it believes the applicant will not
demonstrate an entitlement to relief. The holding in Slack
would mean very little if appellate review were denied
because the prisoner did not convince a judge, or, for that
matter, three judges, that he or she would prevail. It is
consistent with § 2253 that a COA. will issue in some
instances where there is no certainty of ultimate relief.

After all, when a COA is sought, the whole premise is that
the prisoner “‘has already failed in that endeavor.’”

 

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Miller-El v. Cockrell, 537 U.S. 322, 337 (2003) (quoting Barefoot, 463
U.S. at 893). Thus,

[a] prisoner seeking a COA must prove “‘something more than

the absence of frivolity’” or the existence of mere “good

faith” on his or her part, . . . We do not require

petitioners to prove, before the issuance of a COA, that

some jurists would grant the petition for habeas corpus.

Indeed, a claim can be debatable even though every jurist

of reason might agree, after the COA has been granted and

the case has received full consideration, that petitioner

will not prevail.
Id. at 338 (quoting Barefoot, 463 U.S. at 893); see also id. at 342
(cautioning courts against conflating their analysis of the merits
with the decision of whether to issue a COA; “The question is the
debatability of the underlying constitutional claim, not the
resolution of that debate.”).3

In this case, for the reasons previously stated, the
Defendant's claims are lacking in substantive merit and, therefore,
he cannot present a question of some substance about which reasonable
jurists could differ. The Court therefore DENIES a certificate of
appealability.
The Prison Litigation RefornlAct of 1995 (“PLRA”), 28 U.S.C.

§ 1915(a)(3), does not apply to appeals of orders denying § 2255
motions. Hereford v. United States, 117 F.3d 949, 951 (6th Cir. 1997);
cf. McGore v. Wrigglesworth, 114 F.3d. 601, 610 (6th Cir. 1997)
(instructing courts regarding' proper PLRA` procedures in. prisoner

civil-rights cases). Rather, to seek leave to appeal ip forma pauperis

in a § 2255 case, and thereby avoid the $255 filing fee required by

 

3 By the same token, the Supreme Court also emphasized that “{o}ur holding

should not be misconstrued as directing that a COA always must issue.” Id. at 337.
Instead, the COA requirement implements a system of “differential treatment of those
appeals deserving of attention from those that plainly do not.” Id.

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28 U.S.C. §§ 1913 and 1917,4 the prisoner must seek permission from
the district court under Rule 24(a) of the Federal Rules of Appellate

Procedure. Hereford, 117 F.3d at 952. If the motion is denied, the

 

prisoner may renew the motion in the appellate court.
Rule 24(a)(1) provides that:
Except as stated in Rule 24(a)(3), a party to a district-
court action who desires to appeal in forma pauperis must

file a motion in the district court. The party must attach
an affidavit that:

(A) shows in the detail prescribed by Form 4 of the
Appendix of Forms the party's inability to pay or to
give security for fees and costs;

(B) claims an entitlement to redress; and

(C) states the issues that the party intends to
present on appeal.

Fed. R. App. P. 24(a)(1). The Rule further requires the district court
to certify in writing whether the appeal is taken in good faith. Fed.
R. App. P. 24(a)(3)(A). For the same reasons the Court denies a
certificate of appealability, the Court determines that any appeal in
this case would not be taken in good faith. It is therefore CERTIFIED,
pursuant to Fed. R. App. P. 24(a), that any appeal in this matter by

this Defendant is not taken in good faith, and he may not proceed on

appeal ip forma pauperis.

 

‘ Effective November 1, 2003, the fee for docketing an appeal is $250. See
Judicial Conference Schedule of Fees, I 1, Note following 28 U.S.C. § 1913. Under
28 U.S.C. § 1917, a district court also charges a $5 fee:

Upon the filing of any separate or joint notice of appeal or application
for appeal or upon the receipt of any order allowing, or notice of the
allowance of, an appeal or of a writ of certiorari $5 shall be paid to
the clerk of the district court, by the appellant or petitioner.

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IT IS SO ORDERED this Z(O day of July, 2005.

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JO PHIPPS MCCALLA
TED STATES DIS'I'RIC'I‘ JUDGE

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UNTED STAETS DISTRICT COURT - WESTEN DISCTRIT oF TENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:04-CV-02642 Was distributed by faX, mail, or direct printing on
July 27, 2005 to the parties listed.

 

 

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Meniphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

